
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 95-2175


                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  ROBERT S. STOLLER,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                      Aldrich and Coffin, Senior Circuit Judges.
                                          _____________________

                              _________________________

               John A. MacFadyen, with whom Richard M. Egbert was on brief,
               _________________            _________________
          for appellant.
               Anita S.  Lichtblau, Trial Attorney, United  States Dep't of
               ___________________
          Justice,  with whom Donald K. Stern,  United States Attorney, and
                              _______________
          Mark D.  Seltzer, Director,  New England Bank  Fraud Task  Force,
          ________________
          were on brief, for the United States.

                              _________________________


                                  February 29, 1996
                              _________________________



















                    SELYA,  Circuit  Judge.   This  appeal  requires us  to
                    SELYA,  Circuit  Judge.
                            ______________

          explore a shadowy corner of the Double Jeopardy Clause, dimly lit

          by  a trilogy of  recent Supreme Court cases.   Concluding, as we

          do,  that  an  administrative  sanction imposed  by  the  Federal

          Deposit   Insurance   Corporation   (FDIC)   does   not  comprise

          "punishment" within  the purview  of the  Clause,  we uphold  the

          district court's denial of  a motion to dismiss  criminal charges

          later lodged against the same individual.

          I.  BACKGROUND
          I.  BACKGROUND

                    Following chronological order,  we recount the  details

          of the  administrative proceeding  and then discuss  the criminal

          case.

                          A.  The Administrative Proceeding.
                          A.  The Administrative Proceeding.
                              _____________________________

                    From  1975  to  1990,  defendant-appellant   Robert  S.

          Stoller  toiled as  the chief  executive officer of  the Coolidge

          Corner Cooperative Bank  (the Bank).   In 1986,  the Bank  became

          federally insured.   Thereafter, Stoller caused it to  make loans

          to several  real estate trusts with which he was affiliated.  The

          loans soured and the Bank sustained heavy losses.

                    In 1990,  the FDIC  instituted  a debarment  proceeding

          against Stoller.   The FDIC  charged, and  an administrative  law

          judge (ALJ)  found, that  the Bank  underwrote the suspect  loans

          without appropriate disclosure and  in violation of Regulation O,

          12  C.F.R.    215  (a  rule  that caps  the  amount  of credit  a

          federally insured institution may  extend to insiders and imposes

          lending limits on other extensions of credit).  The ALJ concluded


                                          2














          that   Stoller's  transgressions   demonstrated  a   willful  and

          persistent  disregard for  the  Bank's  soundness, and  therefore

          warranted an  order of proscription  under 12 U.S.C.    1818(e).1

          On  administrative review,  the  FDIC's board  of directors  (the

          Board) affirmed the ALJ's factual determinations and approved his

          recommended  order.     Stoller  requested   reconsideration  and

          clarification.  On September 22, 1992, the Board issued a revised

          decision upholding the debarment  order in slightly altered form:

          in  its  final version,  the order  prevents  Stoller (who  is an

          attorney) from  serving as an officer or  director of, exercising

          control  over, or  acting as  counsel to,  any federally  insured

          financial institution.

                                B.  The Criminal Case.
                                B.  The Criminal Case.
                                    _________________

                    In January 1995, a  federal grand jury indicted Stoller

          for  divers violations  of federal  banking laws,  including nine

          counts of misapplying bank funds, see 18 U.S.C.   656; thirty-one
                                            ___

          counts of unlawfully receiving loan-procurement  commissions, see
                                                                        ___

          id.    215; and eight counts  of making false entries,  see id.  
          ___                                                     ___ ___

          1005.  Stoller promptly moved to dismiss the first nine counts of

          the indictment  on double jeopardy  grounds.  The  district court

          denied the  motion, concluding that  the debarment order  did not

          constitute punishment in the  relevant constitutional sense.  See
                                                                        ___

          United States  v. Stoller, 906 F. Supp. 39 (D. Mass. 1995).  This
          _____________     _______

          appeal followed.

                              
          ____________________

               1This  statute and  the  criminal statutes  underpinning the
          later indictment are reprinted in the appendix.

                                          3














          II.  APPELLATE JURISDICTION
          II.  APPELLATE JURISDICTION

                    As  a  general  rule,  federal  appellate  courts  have

          jurisdiction  only over  final orders  and judgments  of district

          courts,  and not over interlocutory  decisions.  See  28 U.S.C.  
                                                           ___

          1291.   In  Abney  v. United  States, 431  U.S.  651 (1977),  the
                      _____     ______________

          Supreme  Court carved  an  exception to  this  rule for  pretrial

          refusals to dismiss criminal  charges on double jeopardy grounds.

          Emphasizing  that  the Double  Jeopardy  Clause  is a  "guarantee

          against being twice  put to trial  for the same offense,"  id. at
                                                                     ___

          661,  the Court  held that "pretrial  orders rejecting  claims of

          former  jeopardy .  .  . constitute  `final  decisions' and  thus

          satisfy the jurisdictional prerequisites of   1291," id. at 662.
                                                               ___

                    It is possible to read too much into Abney.  The Double
                                                         _____

          Jeopardy Clause states that no person "shall . . . be subject for

          the same  offence to be twice  put in jeopardy of  life or limb."

          U.S.  Const.  amend.  V.   This  protection  is  threefold:   "it

          safeguards an individual against (1) a second prosecution for the

          same offense,  following an  acquittal; (2) a  second prosecution

          for the same  offense, following a  conviction; and (3)  multiple

          punishments  for the  same offense."   United  States v.  Rivera-
                                                 ______________     _______

          Martinez,  931 F.2d 148, 152  (1st Cir.), cert.  denied, 502 U.S.
          ________                                  _____  ______

          862 (1991).    Abney  spoke to  a  situation  involving  multiple
                         _____

          prosecutions.   Cases that involve multiple  punishments arguably

          raise different jurisdictional concerns for appellate courts.

                    In  United States  v. Ramirez-Burgos,  44 F.3d  17 (1st
                        _____________     ______________

          Cir. 1995), this court dismissed an interlocutory appeal stemming


                                          4














          from the rejection  of a multiple  punishments claim asserted  in

          connection with parallel counts contained in a single indictment.

          See id. at  18.  We  ruled that the  defendant's right not to  be
          ___ ___

          punished   twice  could  be   vindicated  adequately   through  a

          subsequent,   end-of-case   appeal,   and   distinguished   those

          interlocutory  double jeopardy  appeals (like Abney)  that demand
                                                        _____

          final resolution prior to trial because  the defendant advances a

          claim alleging  impermissible multiple prosecutions.   See id. at
                                                                 ___ ___

          18-19.

                    Stoller's   case  falls  somewhere  between  Abney  and
                                                                 _____

          Ramirez-Burgos.  Unlike in Abney, his double jeopardy claim rests
          ______________             _____

          on the prospect of  multiple punishments rather than the  fear of

          multiple  prosecutions.   Unlike in Ramirez-Burgos,  however, the
                                              ______________

          alleged multiple punishments arise in the course  of two separate

          and   successive  proceedings   rather  than   within  a   single

          proceeding.  To complicate matters further,  the fate of Ramirez-
                                                                   ________

          Burgos  is  uncertain in  light  of  the  Supreme Court's  recent
          ______

          decision  in Witte  v. United  States, 115  S. Ct.  2199 (1995).2
                       _____     ______________
                              
          ____________________

               2In Witte, the defendant  moved to dismiss an indictment  on
                   _____
          the  ground that the conduct underlying it had already been taken
          into account  when he was  sentenced on a  previous charge.   The
          defendant argued that the prosecution of the new charge subjected
          him  to multiple punishments for the same offense in violation of
          the double jeopardy guarantee.  See Witte, 115 S. Ct. at 2204-05.
                                          ___ _____
          He  convinced  the  district  court  but  the  court  of  appeals
          reversed.   25 F.3d 250, 252 (5th Cir. 1994).  On certiorari, the
          Supreme Court declared the claim to be "ripe at this stage of the
          prosecution   although petitioner  has not yet been convicted  of
          the [second charge]    because, as we have said,  `courts may not
          impose  more  than  one  punishment  for  the  same  offense  and
          prosecutors ordinarily may not  attempt to secure that punishment
          in more than one  trial.'"  115 S. Ct. at  2205 (quoting Brown v.
                                                                   _____
          Ohio, 432 U.S. 161, 165 (1977)).
          ____

                                          5














          Although Witte and Ramirez-Burgos  can perhaps be reconciled, the
                   _____     ______________

          most  obvious  basis  for  harmonizing   them     the  number  of

          proceedings  involved    would, if  accepted, remove  this appeal

          from the reach of Ramirez-Burgos.  Moreover, at least one circuit
                            ______________

          has observed that, under Witte, all double  jeopardy appeals that
                                   _____

          raise nonfrivolous  multiple punishments  arguments  must now  be

          considered  ripe  for immediate  review.   See  United  States v.
                                                     ___  ______________

          Baird, 63 F.3d 1213, 1215 &amp; n.4 (3d Cir. 1995), cert. denied, ___
          _____                                           _____ ______

          S. Ct. ___ (1996).

                    We elect to  detour around this Serbonian bog.  It is a

          familiar  tenet that  when  an appeal  presents a  jurisdictional

          quandary, yet  the merits of  the underlying  issue, if  reached,

          will  in any event be resolved in  favor of the party challenging

          the  court's  jurisdiction,  then   the  court  may  forsake  the

          jurisdictional  riddle and  simply dispose  of the appeal  on the

          merits.   See  Norton v.  Mathews, 427  U.S. 524,  530-31 (1976);
                    ___  ______     _______

          Secretary of the Navy v. Avrech, 418 U.S. 676, 677-78 (1974) (per
          _____________________    ______

          curiam);  United States v. Saccoccia,  58 F.3d 754,  767 n.6 (1st
                    _____________    _________

          Cir. 1995); United States v. Connell, 6 F.3d 27, 29 n.3 (1st Cir.
                      _____________    _______

          1993).   We  follow  that course,  leaving  for another  day  the

          questions surrounding the continued vitality of Ramirez-Burgos.
                                                          ______________

          III.  THE DOUBLE JEOPARDY CLAIM
          III.  THE DOUBLE JEOPARDY CLAIM

                    We confine our discussion to  the branch of the  Double

          Jeopardy  Clause  that  embodies  the  constitutional  protection






                                          6














          against multiple  punishments.3  Though our  analysis proceeds in

          three segments, we pause  at the brink to acknowledge a few well-

          established principles.

                    First,  though  former  jeopardy  is  a   criminal  law

          concept, it is by now settled  that, if other conditions are met,

          either criminal prosecutions  or civil proceedings  instituted by

          the  same  sovereign  may  result  in  punishment  sufficient  to

          implicate the  Double  Jeopardy Clause.    See United  States  v.
                                                     ___ ______________

          Halper,  490 U.S.  435,  443  (1989).    Second,  not  all  civil
          ______

          sanctions constitute cognizable  punishment.   To separate  wheat

          from chaff, an  inquiring court must scrutinize  a civil sanction

          objectively rather  than subjectively for,  from the  defendant's

          standpoint,   "even  remedial   sanctions  carry  the   sting  of

          punishment."  Id. at 447 n.7.  Third, as long as a civil sanction
                        ___

          constitutes punishment  in the relevant sense, it does not matter

          if the "multiple" punishment    presumably a criminal  sentence  

          precedes  the attempt to  impose the sanction,  or conversely, if

          the  sanction  precedes the  attempt  to  convict the  defendant.

          Notwithstanding the  difference in sequence,  the Double Jeopardy

          Clause  reaches both situations.  See United States v. Hudson, 14
                                            ___ _____________    ______

          F.3d 536, 540 (10th Cir. 1994);  United States v. Reed, 937  F.2d
                                           _____________    ____

          575, 577 n.3 (11th Cir. 1991).

                              
          ____________________

               3On appeal, Stoller makes a feeble effort to reformulate his
          double jeopardy  challenge to encompass the  notion of successive
          prosecutions.  Since he did not raise this  theory below, we will
          not waste time on it  now.  See United States v. Slade,  980 F.2d
                                      ___ _____________    _____
          27,  30 (1st Cir. 1992).   In all  events, the belated contention
          adds nothing of consequence to Stoller's asseverational array.

                                          7














                    These  principles  help  courts to  solve  the  routine

          questions  that are posed when civil sanctions are alleged to run

          afoul  of the Double Jeopardy Clause.  Nevertheless, when a court

          confronts  the task  of determining  the status  of  a particular

          civil  penalty   under   double  jeopardy   analysis,   extremely

          sophisticated  questions can  sometimes  arise.   The answers  to

          those  questions may depend on the trilogy of Supreme Court cases

          to which we now repair.

                                   A.  The Trilogy.
                                   A.  The Trilogy.
                                       ___________

                    The  seminal  case is  Halper.    There the  government
                                           ______

          successfully prosecuted criminal charges against a physician who,

          it asserted, had defrauded the federal Medicare program on sixty-

          five separate occasions.  The judge imposed a prison sentence and

          a fine.  See Halper, 490 U.S. at 437.  Thereafter, the government
                   ___ ______

          brought  a civil suit against  Dr. Halper under  the False Claims

          Act,  31 U.S.C.    3729-3730,  seeking to recover  damages plus a

          penalty equal to $2,000 per violation.  The district judge, after

          contrasting the extent of the  government's claim for these items

          ($131,170) with the provable amount of the loss occasioned by Dr.

          Halper's defalcations  ($585),  awarded the  government  $16,000.

          The  judge  reasoned that  a more  munificent  award would  be so

          disproportionate as to constitute  punishment and would therefore

          raise double jeopardy questions.  See Halper, 490 U.S. at 438-39.
                                            ___ ______

          The Supreme Court  ultimately accepted  this reasoning,4  finding
                              
          ____________________

               4The Court did not affirm, but instead vacated the award and
          remanded  for a  more precise  determination of  the government's
          actual loses.  See Halper, 490 U.S. at 452.
                         ___ ______

                                          8














          double  jeopardy to be a matter of concern "where a fixed-penalty

          provision  subjects   a[n]  .   .  .   offender  to   a  sanction

          overwhelmingly disproportionate to  the damages  he has  caused."

          Id. at 449.
          ___

                    The  Halper  Court  offered  some  insights  into  when
                         ______

          particular civil  penalties might  be regarded as  punishments in

          the  relevant  sense.   Making such  a determination  "requires a

          particularized assessment of the penalty imposed and the purposes

          the penalty may fairly be said to  serve.  Simply put, a civil as

          well  as  a criminal  sanction  constitutes  punishment when  the

          sanction  as applied in the  individual case serves  the goals of

          punishment."   Id. at  448.  Withal,  Halper did not  brand every
                         ___                    ______

          monetary penalty exceeding actual  financial loss as punitive per

          se.   To the  contrary, the Court stated  that "the Government is

          entitled  to  rough  remedial justice,  that  is,  it  may demand

          compensation according  to somewhat  imprecise formulas,  such as

          reasonable liquidated damages or a fixed sum plus double damages,

          without  being deemed to have imposed a second punishment for the

          purpose of  double jeopardy analysis."   Id. at 446.   It is only
                                                   ___

          when  the  recovery is  "not rationally  related  to the  goal of

          making  the  Government  whole"  that the  prospect  of  multiple

          punishment looms.   Id. at 451.   It is in this  context that the
                              ___

          Halper dichotomy surfaced:  Justice Blackmun wrote  that "a civil
          ______

          sanction  that cannot fairly be  said solely to  serve a remedial

          purpose,  but rather can only be explained as also serving either

          retributive or deterrent purposes, is punishment, as we have come


                                          9














          to understand the term."  Id. at 448.
                                    ___

                    In Austin v. United States, 113 S. Ct. 2801 (1993), the
                       ______    _____________

          Court mulled  a constitutional challenge to  the civil forfeiture

          of  property  (Austin's home  and  business)  used to  facilitate

          narcotics transactions.  After  deciding that the Excessive Fines

          Clause, U.S.  Const.  amend.  VIII,  reached  punitive  sanctions

          levied  in  nominally  civil  proceedings, see  id.  at  2805-06,
                                                     ___  ___

          Justice Blackmun invoked his own invention   the Halper dichotomy
                                                           ______

            as an  aid in determining  how a particular  sanction might  be

          characterized.  Responding  to concerns  articulated by  Justices

          Scalia  and Kennedy (each of  whom concurred in  the judgment but

          wrote separately),  Justice Blackmun suggested  that under Halper
                                                                     ______

          "the question is whether forfeiture serves in part to punish, and
                                                     __ ____

          one need not exclude the possibility that forfeiture serves other

          purposes to reach that  conclusion."  Id. at 2810  n.12 (emphasis
                                                ___

          in  original).   While  Justice Blackmun  acknowledged that  "the

          forfeiture of contraband itself  may be characterized as remedial

          because it removes  dangerous or illegal items  from society," he

          declined to extend that reasoning to the sovereign's confiscation

          of a defendant's home and  business (even though drug trafficking

          may have occurred  there).  Id. at 2811.  Moreover, "the dramatic
                                      ___

          variations in the value of . .  . property forfeitable" under the

          applicable civil forfeiture statutes undermined any serious claim

          that  such forfeitures  merely provided  appropriate compensation

          for the  government's  losses.   Id. at  2812.   In other  words,
                                           ___

          forfeitures of  random magnitude  were punitive in  nature mainly


                                          10














          because of sheer vagariousness.5

                    The capstone of the trilogy is Department of Revenue v.
                                                   _____________________

          Kurth  Ranch, 114 S.  Ct. 1937 (1994).   There  the Supreme Court
          ____________

          revisited  its double  jeopardy  jurisprudence and  found that  a

          Montana tax  on  the possession  of illegal  drugs constituted  a

          punishment.   See id. at 1948.   Justice Stevens, writing for the
                        ___ ___

          majority, abjured the Halper dichotomy.   He explained this shift
                                ______

          of  focus  on the  basis  that  "Halper's  method of  determining
                                           ______

          whether the  exaction was  remedial or  punitive simply  does not

          work  in the case of a tax  statute."  Id. (citation and internal
                                                 ___

          quotation marks omitted).6

                    In  lieu of  the inelastic  Halper dichotomy  the Kurth
                                                ______                _____

          Ranch  Court advocated a more  flexible approach and undertook to
          _____

          evaluate  the   defendant's  double  jeopardy  claim  through  an

          examination  of  the   aggregate  circumstances  surrounding  the

          imposition  of the  tax.   See id.  at 1946-48.   Marshaling  the
                                     ___ ___

          pertinent  facts, the Court remarked the tax's high rate, obvious

          deterrent purpose, and linkage  with the taxpayer's commission of

          a  drug-related crime,  see id. at  1946-47, and  took particular
                                  ___ ___
                              
          ____________________

               5Austin  is likely not the last word on civil forfeitures in
                ______
          these purlieus.  The Court has taken certiorari in two forfeiture
          cases that feature double jeopardy challenges.  See United States
                                                          ___ _____________
          v. Ursery, 59 F.3d 568 (6th Cir. 1995), cert. granted, 116 S. Ct.
             ______                               _____ _______
          762  (1996); United States v.  $405,089.23, 56 F.3d  41 (9th Cir.
                       _____________     ___________
          1995), cert. granted, 116 S. Ct. 762 (1996).
                 _____ _______

               6Elaborating on this  theme, Chief  Justice Rehnquist  (with
          whom  the majority  agreed  on this  point)  explained that  "the
          purpose of a tax statute is not to recover the  costs incurred by
          the government for bringing someone to book for some violation of
          law,  but is instead to  either raise revenue,  deter conduct, or
          both."  Id. at 1949 (Rehnquist, C.J., dissenting).
                  ___

                                          11














          note  of the fact that the property  to be taxed was no longer in

          the taxpayer's  possession, see  id. at  1948.   Accordingly, the
                                      ___  ___

          Court judged the tax to be punitive and  held that its assessment

          after  the  taxpayer had  been  convicted and  sentenced  for the

          underlying  narcotics offense  would constitute  double jeopardy.

          See id.
          ___ ___

                             B.  The Analytic Framework.
                             B.  The Analytic Framework.
                                 ______________________

                    The threshold question is  whether the Halper dichotomy
                                                           ______

          furnishes  the  beacon  by  which we  must  steer  in  evaluating

          Stoller's  double jeopardy claim.   We hold that the dichotomy   

          the  Halper Court's litmus test  for determining the  nature of a
               ______

          civil   sanction      is  limited   to  cases   involving  fines,

          forfeitures, and  other monetary  penalties designed to  make the

          sovereign whole for harm  or loss that is quantifiable  in actual

          or  approximate monetary  terms.   In other cases,  the preferred

          method  of analysis  is  the  totality-of-the-circumstances  test

          employed   in  Kurth  Ranch.    Thus,  the  Halper  dichotomy  is
                         ____________                 ______

          inapposite in the typical debarment case (as here).

                    1.   In  Kurth Ranch,  114 S.  Ct. at  1948, the  Court
                    1.       ___________

          recognized the  limitations of the dichotomy  conceived in Halper
                                                                     ______

          and  nourished in Austin.  The Halper dichotomy is serviceable in
                            ______       ______

          the context of a fine, forfeiture, or other monetary penalty that

          is itself quantifiable in dollars  and is intended to  correspond

          with  a   quantifiable  loss.    In  such  situations,  a  simple

          mathematical  computation reveals with  some degree  of precision




                                          12














          whether  the penalty is in  proportion to the  misconduct.7  This

          comparison,  in turn, determines the nature of the sanction:  the

          sanction is  either restitutionary in an  approximate sense (and,

          hence, remedial) or it  is not (and, hence, punitive).  This is a

          practical,  easily administered rule  of thumb    but it operates

          satisfactorily  only  because  the  extent to  which  a  monetary

          exaction exceeds actual loss is quantifiable.  Where that is so  

          as in Halper    the test works; but in other  kinds of cases   as
                ______

          in Kurth Ranch and here   the dichotomy is dysfunctional.8
             ___________

                    We   think  that   Halper   itself   recognized   these
                                       ______

          limitations.  The  holding of the Halper  Court   a holding  that
                                            ______

          appeared in  the very next  sentence following the  sentence that

          framed  the dichotomy   is "that under the Double Jeopardy Clause

          a  defendant  who  already  has  been  punished   in  a  criminal

          prosecution may  not be subjected to an additional civil sanction

          to  the extent  that  the  second  sanction  may  not  fairly  be

          characterized   as  remedial,   but  only   as  a   deterrent  or

          retribution."      490  U.S.   at   448-49.     A   significantly

                              
          ____________________

               7Even in such  cases, the dichotomy has  a troubling aspect.
          See  Austin,  113 S.  Ct. at  2813  n.* (Scalia,  J., concurring)
          ___  ______
          (questioning  the  language  used  by  Justice  Blackmun  because
          virtually by definition a "statutory forfeiture must always be at
                                                               ______
          least `partly punitive'") (emphasis in original).

               8While  Kurth  Ranch  dealt  with  a  quantifiable  monetary
                       ____________
          penalty    a tax     it did  not involve  the  satisfaction of  a
          quantifiable  loss.  Tax statutes are not usually predicated on a
          calculation  of  damages  or  costs sustained  by  the  sovereign
          through  the taxpayer's  acts, and  the tax  statute at  issue in
          Kurth Ranch (which imposed a tax of the greater of $100 per ounce
          ___________
          of marijuana or ten percent  of its market value, see 114  S. Ct.
                                                            ___
          at 1941) is no exception.

                                          13














          disproportionate monetary sanction cannot fairly be characterized

          as remedial and, thus,  must be regarded as  being in service  to

          punitive   ends  (deterrence   or  retribution).     Non-monetary

          sanctions elude  such facile  classification.  Indeed,  many non-

          monetary  sanctions are hybrids;  while not solely  in service to

          remedial goals,  they cannot  fairly be characterized  as serving

          only punitive  purposes.  We believe  it is for  this reason that

          the  Halper Court, knowing many civil sanctions would not fit the
               ______

          analytic  mold it  had cast  for use  in connection  with certain

          types of monetary penalties, stressed the circumscribed nature of

          its  holding and styled its  dichotomous approach as  "a rule for

          the rare case."  Id. at 449.
                           ___

                    We  are unwilling  to accept Stoller's  contention that

          Austin  signals   a  widening  of  Halper's  purposefully  narrow
          ______                             ______

          holding.  In Austin,  the applicable statute purportedly entitled
                       ______

          the  government  to  recover  property used  to  facilitate  drug

          transactions regardless  of the  property's value in  relation to

          the  amount of  drugs purveyed  or the  losses to  the government

          occasioned  thereby.   See  Austin,  113 S.  Ct.  at  2812.   The
                                 ___  ______

          defendant's challenge to the  forfeiture pivoted on the Excessive

          Fines Clause, not  the Double Jeopardy Clause.   See id.  at 2812
                                                           ___ ___

          n.14.   Although  the Court  often interchanges  precedents under

          these clauses,  Austin  is a  case  in which  the  source of  the
                          ______

          challenge  possessed   decretory  significance.     In  assessing

          multiple  punishment claims under  double jeopardy  analysis, the

          answer to the dispositive  question ultimately depends on whether


                                          14














          a  sanction is  "punitive."   By contrast,  in pondering  a claim

          under the Excessive  Fines Clause, the answer  to the dispositive

          question ultimately depends on whether a sanction is "excessive."

          See  id.  To arrive  at a judgment  on excessiveness, a reviewing
          ___  ___

          court  must necessarily determine if the fine is in proportion to

          the harm inflicted and/or the loss sustained   and  it must apply

          that  criterion  regardless  of  whether  the  harm  or  loss  is

          quantifiable.  See Alexander  v. United States, 113 S.  Ct. 2766,
                         ___ _________     _____________

          2776 (1993).  It follows that, in double jeopardy cases involving

          non-monetary sanctions,  we can read very little  into the Austin
                                                                     ______

          Court's commentary.

                    2.  Moving beyond the trilogy, the weight  of appellate
                    2.

          authority   buttresses  our  binary  conclusion  that  in  double

          jeopardy cases (a) the Halper method of analysis is the exception
                                 ______

          while  the  Kurth  Ranch method  is  the  general  rule, and  (b)
                      ____________

          strictly speaking, the  Halper dichotomy does  not apply to  non-
                                  ______

          monetary  sanctions.   See,  e.g.,  United  States v.  Hernandez-
                                 ___   ____   ______________     __________

          Fundora,  58  F.3d 802,  806 (2d  Cir.)  (refusing to  extend the
          _______

          Halper dichotomy to  a prisoner's claim  that his conviction  and
          ______

          sentence  on charges  of assault, after  correctional authorities

          had  meted out  disciplinary  segregation for  the same  offense,

          violated the  multiple punishments branch of  the Double Jeopardy

          Clause), cert. denied, 115 S. Ct. 2288 (1995).  While the Supreme
                   _____ ______

          Court  has not  yet  decided a  case  raising a  double  jeopardy

          challenge  to  a  criminal  prosecution that  stalks  behind  the

          issuance of  a debarment  order, several courts  of appeals  have


                                          15














          considered  and rejected  such  challenges in  the reflection  of

          Halper.
          ______

                    In Reed, 937 F.2d at 577, the Eleventh Circuit declined
                       ____

          to  apply the  Halper  dichotomy to  an employment  proscription.
                         ______

          Reed  involved a double  jeopardy challenge to  an indictment for
          ____

          misappropriation of  postal  funds  that  followed  a  thirty-day

          disciplinary  suspension imposed  by an  arbitrator for  the same

          conduct.  The court labelled the Halper dichotomy "inapposite" in
                                           ______

          cases involving non-monetary  sanctions.   Id. at 578.   But  the
                                                     ___

          court's rejection of the dichotomy was by no means a rejection of

          Halper itself.   The court  found guidance    as do  we   in  the
          ______

          general   principles  discussed   by   the  Halper   Court,  and,
                                                      ______

          adumbrating the methodology that  the Supreme Court later adopted

          in Kurth Ranch, the Reed panel examined the overall circumstances
             ___________      ____

          in order to determine whether the proscriptive sanction should be

          characterized as punitive or remedial.  See id.
                                                  ___ ___

                    The  same court also declined to apply Halper in a case
                                                           ______

          that bears a distinct family resemblance  to the case at bar.  In

          Manocchio  v. Kusserow, 961 F.2d 1539 (11th Cir. 1992), the court
          _________     ________

          found  no  double jeopardy  barrier  to  an administrative  order

          excluding a physician from  participating in the federal Medicare

          program  for at least five  years, notwithstanding that the order

          followed  the  doctor's  conviction and  sentencing  on  criminal

          charges  of Medicare  fraud.   Dismissing the  physician's lament

          that the  debarment order,  from his perspective,  was unarguably

          punitive,  the court determined the sanction to be remedial.  See
                                                                        ___


                                          16














          id.  at 1542  (stating, inter alia,  that "the  purpose of  . . .
          ___                     _____ ____

          exclusion  is to  protect  the public,  a legitimate  nonpunitive

          goal").   Because the agency  "did not assess  monetary damages,"

          the  court ruled that "Halper's  analysis . .  . does not apply."
                                 ______

          Id.   Instead, it focused  on the totality  of the circumstances.
          ___

          See id.
          ___ ___

                    To  be  sure,  these  decisions predate  Austin     but
                                                             ______

          because debarment does not come within the Excessive Fines Clause

          as  we  understand  it,   see  Browning-Ferris  Indus.  v.  Kelco
                                    ___  _______________________      _____

          Disposal,  Inc., 492  U.S. 257, 264-65  (1989) (holding  that the
          _______________

          Excessive  Fines Clause is implicated only when a party must make

          "a  payment to  a  sovereign as  punishment for  some offense"),9

          nothing  in Austin diminishes their vitality.  More to the point,
                      ______

          Kurth  Ranch, a post-Austin  case, makes  it pellucid  that, when
          ____________         ______

          there   is   no   occasion   for  an   inquiry   into   financial

          proportionality, the classic Halper framework does  not fit.  See
                                       ______                           ___

          Kurth Ranch, 114 S. Ct. at 1948.
          ___________

                    Two other  courts of appeals  have arrived at  the same

          destination by a more roundabout route.   In Hudson, 14 F.3d 536,
                                                       ______

          the Tenth Circuit faced a scenario on all fours with the scenario

          presented here.  Acting under the identical statute that the FDIC

          employed vis-a-vis Stoller, 12  U.S.C.   1818(e), the Comptroller

          of  the  Currency  initiated  administrative  proceedings against

          several individuals.   He succeeded in  securing debarment orders
                              
          ____________________

               9Stoller  has not  argued  that the  Excessive Fines  Clause
          applies  in this  case;  and, insofar  as  we can  tell,  no such
          argument was advanced in either Reed or Manocchio.
                                          ____    _________

                                          17














          and agreements for partial  restitution.  See Hudson, 14  F.3d at
                                                    ___ ______

          538.   The government later pressed criminal charges based on the

          same course of conduct.  See id.  In analyzing the ensuing double
                                   ___ ___

          jeopardy challenge,  the  Tenth Circuit,  echoing Halper,  stated
                                                            ______

          "that a sanction  should be  considered punishment if  it is  not

          solely  remedial,"   but  placed  a  gloss   on  this  statement,

          explaining "that a determination  that a sanction is at  least in

          part  punishment  requires that  it  must  be  explained as  also
                                               ____

          serving as a deterrent or retribution, not merely that it  may be
                                                                     ___

          so explained."   Id.  at 540 (emphasis  in original).   The court
                           ___

          then  pointed  out  that while     1818(e)  may  serve to  punish

          lawbreakers,  "it   does  not  follow  that   all  sanctions  are

          necessarily presumed to be  punitive when the [statute's] express

          language .  . . also allows for remedial sanctions."  Id. at 541.
                                                                ___

          Applying  these tenets,  the court  concluded that  the debarment

          orders did not comprise  punishments and, therefore, rebuffed the

          claim of former jeopardy.  See id. at 542.
                                     ___ ___

                    In Bae v.  Shalala, 44  F.3d 489 (7th  Cir. 1995),  the
                       ___     _______

          Seventh  Circuit used a similar mode of analysis in turning aside

          an ex  post facto  challenge  to a  debarment order.   The  court

          assumed  the primacy of Halper and started from the premise that,
                                  ______

          unless a civil  sanction can "fairly  be said  solely to serve  a

          remedial  purpose,"  it  constitutes  punishment.    Id.  at  493
                                                               ___

          (quoting Halper, 490 U.S. at 448).  But the court added:
                   ______

                    A civil  sanction  that can  fairly  be  said
                    solely to serve remedial  goals will not fail
                    under  ex post facto  scrutiny simply because
                           _____________
                    it is consistent with punitive goals as well.

                                          18














                    A  civil  sanction  will   be  deemed  to  be
                    punishment in the  constitutional sense  only
                    if   the   sanction   "may   not   fairly  be
                    characterized  as remedial,  but  only  as  a
                                                      ____
                    deterrent or retribution."

          Id. (quoting Halper, 490 U.S. at 449) (emphasis supplied in Bae).
          ___          ______                                         ___

          After  considering   the  history  and  nature   of  the  statute

          authorizing the  Food and Drug Administration to ban persons from

          participating in the pharmaceutical industry, the court concluded

          that the  order  excluding Bae  was  consistent with  a  remedial

          purpose and, therefore, not punitive.  See id. at 494-96.
                                                 ___ ___

                    The  difference  in   approach  between  the   Eleventh

          Circuit, on one hand, and the Seventh  and Tenth Circuits, on the

          other  hand, may  be more  one of  emphasis than  of substance.10

          Certainly,  the  results  reached  in these  three  circuits  are

          entirely consistent and the courts' approaches put them on nearly

          identical  courses.   The Eleventh  Circuit, while  eschewing the

          Halper   dichotomy  in   debarment  situations,   heeds  Halper's
          ______                                                   ______

          animating  principle.     See,  e.g.,  Reed,  937  F.2d   at  578
                                    ___   ____   ____

          (describing the employment suspension as constituting  "the rough

          remedial  justice  permissible  as  a  prophylactic  governmental

          action") (internal  quotation marks and citations  omitted).  The

          other two  circuits embrace this same  principle whilst departing

          from a strict rendition of the Halper dichotomy.  See, e.g., Bae,
                                         ______             ___  ____  ___

          44  F.3d at 493.  Moreover, the Seventh Circuit acknowledges that
                              
          ____________________

               10Indeed, both the Seventh  and Tenth Circuits have rejected
          double jeopardy challenges to debarment orders in the post-Halper
                                                                     ______
          era  without discussing the dichotomy.   See, e.g., United States
                                                   ___  ____  _____________
          v. Furlett, 974 F.2d  839, 844-45 (7th Cir. 1992);  United States
             _______                                          _____________
          v. Bizzell, 921 F.2d 263, 267 (10th Cir. 1990).
             _______

                                          19














          hybrid sanctions can  pass constitutional muster:   a modicum  of

          punitive effect  will not poison  a sanction that  is essentially

          remedial.  See id. (conceding that "[t]he punitive effects of the
                     ___ ___

          [debarment] are  merely incidental  to its overriding  purpose to

          safeguard  the  integrity  of  the generic  drug  industry  while

          protecting public  health").  This last  statement is reminiscent

          not only of Reed and Manocchio but also of the position advocated
                      ____     _________

          by   the  Second  Circuit  (albeit  on  different  facts).    See
                                                                        ___

          Hernandez-Fundora,  58  F.3d at  806  ("[T]he  mere fact  that  a
          _________________

          sanction  imposed by  prison officials  has a  punitive component

          does  not mean  that  the sanction  constitutes `punishment'  for

          double jeopardy purposes.").

                    Despite these similarities in  approach, we think it is

          prudent to adopt one of the competing methodologies as a guide to

          courts and litigants  in this  circuit.  Writing  with the  added

          illumination  of Kurth Ranch, we conclude that, to the extent the
                           ___________

          circuits'  approaches  are inconsistent,  the  directness  of the

          Eleventh Circuit's analysis in Reed is preferable because it best
                                         ____

          effectuates  the  Supreme  Court's  admonition  that  the  Halper
                                                                     ______

          dichotomy  should not be applied too far afield from its original

          context (monetary sanctions designed to make the government whole

          for traceable losses).  See Kurth Ranch,  114 S. Ct. at 1948.  In
                                  ___ ___________

          addition, the more  inclusive totality-of-the-circumstances  test

          provides a  sounder barometer  for measuring whether  a debarment

          order   or   an  analogous   non-monetary   sanction  constitutes

          punishment.  We so hold.


                                          20














                             C.  The Merits of the Claim.
                             C.  The Merits of the Claim.
                                 _______________________

                    We  turn  next  to  the question  whether  the  instant

          debarment order constitutes punishment  within the purview of the

          Double Jeopardy Clause.  This task does not require us  to make a

          blanket  determination  of  whether  all  debarment  orders   are
                                               ___

          remedial  as opposed to punitive.   Rather, we shine the light of

          our  gleaned  understanding  on the  particular  sanction imposed

          under the particular circumstances on the particular defendant in

          order to ascertain  its character.   See Halper, 490 U.S.  at 448
                                               ___ ______

          (directing "a particularized  assessment of  the penalty  imposed

          and the purposes that the penalty may  fairly be said to serve").

          For  this purpose,  we assume     but do  not decide    that  the

          debarment order  and the  nine "misapplication" counts  lodged in

          the  indictment arise out  of the same  events and  rest upon the

          same elements.11

                    We conduct  our inquiry by considering  the totality of

          the circumstances,  including the  source of the  authority under

          which  the debarment  is  imposable, the  goals underpinning  the
                              
          ____________________

               11Under  United States v. Dixon,  113 S. Ct.  2849 (1993), a
                        _____________    _____
          double  jeopardy claim does not take wing simply because the same
          conduct underlies two  sets of  charges.   Rather, the  defendant
          must  demonstrate that  the charges  contain  identical elements.
          See  id.  at  2856, 2860.    Stoller  claims  that the  requisite
          ___  ___
          identity exists  here between  the FDIC's  administrative charges
          and the first nine counts  of the indictment (alleging violations
          of 18 U.S.C.   656).  The government disagrees.  It suggests that
          the elements  are not congruent because   656 requires proof of a
          misapplication of  bank funds and willfulness or intent to injure
                                        ___
          the bank, whereas   1818(e) contains an element of loss causation
          in  lieu  of the  willfulness requirement.   Since  the debarment
          order does not constitute punishment, see text infra,  we emulate
                                                ___      _____
          the court below and  leave this issue unaddressed.   See Stoller,
                                                               ___ _______
          906 F. Supp. at 40 n.2.

                                          21














          authorizing statute,  the order  itself, the purposes  it serves,

          and the circumstances  attendant to its promulgation.   See Kurth
                                                                  ___ _____

          Ranch, 114 S. Ct. at 1946-47.  In the course of this tamisage, we
          _____

          give  weight to a variety of factors  such as the severity of the

          civil  sanction;  its  relationship  to  legitimate, non-punitive

          aims;  the  extent  to  which  the  legislature  acted  to  deter

          potential wrongdoers,  or conversely,  to shield the  public; and

          the nexus (if any) between the  civil sanction and the crime that

          it allegedly  punishes.   See  id.   Because our  interest is  in
                                    ___  ___

          deterrating the overall  nature of the  sanction, no one  factor,

          standing alone, is likely to be determinative.

                    1.  The authorizing statute, 12 U.S.C.   1818(e)(1), is
                    1.

          reprinted in the  appendix.  The statute itself offers relatively

          little guidance;  it simply permits regulators  to seek debarment

          orders as long  as three  conditions are fulfilled.   First,  the

          predicate  conduct   must  consist   of  (a)  violating   a  law,

          regulation,  or agency order,  (b) engaging in  (or condoning) an

          unsafe or unsound banking practice, or (c) committing a breach of

          fiduciary  duty.  See id.    1818(e)(1)(A).   Second, the conduct
                            ___ ___

          must  have  (a) caused  real or  probable  loss, (b)  actually or

          potentially prejudiced  depositors' interests, or (c) resulted in

          gain to the  perpetrator.  See id.    1818(e)(1)(B).  Third,  the
                                     ___ ___

          conduct  must  have  (a)  involved personal  dishonesty,  or  (b)

          "demonstrate[d]  willful or  continuing disregard  . . .  for the

          safety  or  soundness  of"  the  financial institution.    Id.   
                                                                     ___

          1818(e)(1)(C).   Whenever  these  three conditions  coalesce, the


                                          22














          agency  (here, the FDIC) may issue a  debarment order.  See id.  
                                                                  ___ ___

          1818(e)(1).    Such  an  order will  apply  industry-wide  unless

          otherwise specified.  See id.   1818(e)(7)(A).
                                ___ ___

                    These   conditions,   on  their   face,   are  arguably

          consistent with  punishment and remediation alike.   For example,

          although  the statute's culpability requirement is reminiscent of

          the criminal code, such a requirement, in and of itself, does not

          mandate a  finding of punitive  intent.   See Hudson, 14  F.3d at
                                                    ___ ______

          542.   By the same token, the  statute's evident concern for both

          depositors'  interests  and  financial  institutions'  well-being

          strongly  suggests a  remedial  goal, but  does  not, in  and  of

          itself, mandate a finding of remedial intent.  What tends to  tip

          the balance is that,  under   1818(e)(1), the authority  to debar

          is  not  tied  to a  finding  that  the  targeted individual  has

          committed  a crime.   Just  as the presence  of an  explicit link

          between a  civil penalty and the  commission of a crime  makes it

          more likely that the  penalty will be deemed punitive  for double

          jeopardy purposes,  see Kurth Ranch, 114 S. Ct. at 1947, so, too,
                              ___ ___________

          the  fact that a civil penalty can  be imposed whether or not the

          targeted individual  has committed a  crime makes it  more likely

          that  the penalty will be  deemed remedial, see,  e.g., Thomas v.
                                                      ___   ____  ______

          Commissioner, 62 F.3d 97, 101 (4th Cir. 1995).
          ____________

                    In reaching  the conclusion  that   1818(e)(1),  on its

          face, displays  colors more consistent  with the remedial  end of

          the  spectrum,  we  reject  Stoller's  argument  that  Congress's

          failure  to  enact  stringent  standards   circumscribing  agency


                                          23














          discretion  in  respect  to debarment  renders  debarment  orders

          punitive in nature.   Simple logic refutes  this proposition, and

          the  case law  uniformly contradicts  it.12   See, e.g.,  Bae, 44
                                                        ___  ____   ___

          F.3d at  496  (characterizing  a   debarment  order  as  remedial

          notwithstanding  the  authorizing  statute's  lack   of  limiting

          standards); Hudson, 14 F.3d at 542 (similar).
                      ______

                    The  legislative history  of    1818(e)(1)  is helpful.

          Fairly read,  this history  reflects congressional aims  far more

          compatible with remediation than with punishment.  Congress first

          enacted the  proscription provision  in  1966.   The report  that

          accompanied  the bill  limned the  reasons prompting  the desired

          reforms:

                         The  Federal   supervisory  agencies  in
                    varying    degrees   have    been   seriously
                    handicapped  in  their  efforts   to  prevent
                    irresponsible  and  undesirable practices  by
                    deficiencies   in  the   statutory  remedies.
                    Experience  has  often demonstrated  that the
                    remedies   now   available  to   the  Federal
                    supervisory agencies are not only too drastic
                    for  use  in many  cases,  but  are also  too
                    cumbersome to bring  about prompt  correction
                    and   promptness   is   very  often   vitally
                    important.

          S. Rep. No. 1482, 89th Cong.,  2d Sess. 1, 5 (1966), reprinted in
                                                               _________ __

          1966  U.S.C.C.A.N.  3532,  3537.   When  taken  in  light of  the

          Committee's manifold  concerns about  the safety of  the nation's
                              
          ____________________

               12Stoller's reliance  on United States v.  Bizzell, 921 F.2d
                                        _____________     _______
          263 (10th Cir. 1990),  is misplaced.  There, the  district court,
          although concluding  that the  debarment order was  not punitive,
          rested its decision in part on statutory limitations attendant to
          the government's proscriptive powers.   See id. at 265.  But  the
                                                  ___ ___
          court of appeals did not adopt this rationale,  affirming instead
          on  the general  remedial  purposes underpinning  that  statutory
          scheme.  See id. at 267.
                   ___ ___

                                          24














          financial institutions,  see id. at 3536-38,  the quoted language
                                   ___ ___

          comprises a  patent indication  that Congress  intended debarment

          primarily to protect  depositors from scurrilous bank  officials.

          This is  a vitally important  datum:  using  a civil sanction  to

          safeguard the integrity of the  banking industry and protect  the

          interests of depositors fulfills a remedial purpose.  See Hudson,
                                                                ___ ______

          14 F.3d at 541-42.

                    Nothing in the Financial Institutions  Reform, Recovery

          and Enforcement Act of 1989 (FIRREA) alters this outlook.  Though

          FIRREA  expanded the  scope of  possible proscription  beyond the

          offending  official's  own  bailiwick  and  for  the  first  time

          authorized  an industry-wide ban, see 12  U.S.C.   1818(e)(7), it
                                            ___

          did  not   otherwise  change  the  substance   of  the  debarment

          provision.  The only significant legislative history dealing with

          the  industry-wide ban  addresses the  exceptions regulators  are

          empowered  to  make and  explains  them  in essentially  remedial

          terms.  See, e.g., H.R. Rep. No. 54(I), 101st Cong., 1st Sess. 1,
                  ___  ____

          468, (1989), reprinted  in 1989 U.S.C.C.A.N. 86,  264; H.R. Conf.
                       _________  __

          Rep. No. 222, 101st  Cong., 1st Sess. 393, 440  (1989), reprinted
                                                                  _________

          in 1989 U.S.C.C.A.N. 432, 479.  The other changes accomplished by
          __

          Title IX  of FIRREA are a  mixed bag and, in  the aggregate, shed

          little  illumination.   The  short of  it is  that the  annals of

          FIRREA offer no convincing reason to infer that Congress intended

          to  alter  the fundamental  (remedial)  nature  of the  debarment

          provision.

                    Stoller  resists  this  conclusion,  plucking  a single


                                          25














          sentence from  FIRREA's lengthy  legislative history.   The House

          Report,  in its  introduction  to FIRREA  Title  IX, states  that

          "[t]his Title gives the regulators and the Justice Department the

          tools  which they need .  . . to  punish culpable individuals, to

          turn  this  situation around,  and  to  prevent these  tremendous

          losses  to the  Federal deposit  insurance funds from  ever again

          recurring."  H.R.  Rep. No.  54(I), supra,  1989 U.S.C.C.A.N.  at
                                              _____

          262.  But this language  applies to Title IX  as a whole, not  to

          the  debarment  provision  per  se.   The  immediately  preceding

          sentence explains that Title  IX is intended both to  enhance the

          FDIC's  regulatory powers and  to strengthen  applicable criminal

          justice provisions with a view to "restoring public confidence in

          the nation's financial system and serv[ing] to protect the public

          interest."  Id.   Read  in tandem, these  sentences suggest  that
                      ___

          Congress visualized industry-wide debarment as a remedial device,

          notwithstanding  that the  bill included  other emendations  that

          were calculated to increase punishments.

                    To sum  up,  the legislative  history undergirding  the

          debarment provision indicates that Congress gave the FDIC removal

          power for  remedial purposes,  and FIRREA  does not  suggest that

          Congress experienced a change of heart.

                    2.  Double  jeopardy problems must be examined in their
                    2.

          actual application.  See  Halper, 490 U.S.  at 447.  Moving  from
                               ___  ______

          the general to the  specific, we inspect the circumstances  under

          which the FDIC sanctioned Stoller.  Our assay is hampered because

          the  regulators' decisions are  opaque in certain  respects.  The


                                          26














          ALJ did little more than find that the statutory preconditions to

          proscription  had  been  met.   Similarly,  the  Board's  initial

          decision merely  stated that  "the serious nature  of [Stoller's]

          unsafe or unsound  conduct and serious breaches of fiduciary duty

          merit  prohibition  from  participating  in the  conduct  of  the

          affairs of any  other federally insured  depository institution."

          In re  Stoller, No. 90-115e, at 23-24 (FDIC Feb. 18, 1992) (Board
          ______________

          Dec. I).   This explanation seems equally consistent  with either

          remedial or punitive aims; the  Board might have thought Stoller,

          as a  continuing participant in the banking  community, likely to

          present an ongoing threat to the public,  or it might simply have

          thought that he deserved severe punishment.

                    The   Board's  second   decision   furnishes   a   more

          transparent  window into  its  cerebrations,  and  resolves  this

          amphiboly.   That decision (in which the Board extended Stoller's

          exile  by prohibiting him from acting as counsel to any financial

          institution)  persuasively demonstrates  that the  Board intended

          debarment to serve a remedial  end.  The Board reasoned  that the

          very nature of  a lawyer's  relationship with a  bank provides  a

          unique  opportunity for double dealing.   See In  re Stoller, No.
                                                    ___ ______________

          90-115e,  at 9  (FDIC Sept.  22, 1992)  (Board Dec. II).   Hence,

          debarment  orders  should  sweep  broadly to  ensure  that  rogue

          lawyers  do not have repeated  opportunities to bilk  banks.  See
                                                                        ___

          id.  at  8.    Because  "an  attorney  representing  a  financial
          ___

          institution,  like  the  institution's  directors  and  officers,

          occupies  a  position  of   trust  and  has  important  fiduciary


                                          27














          obligations to the financial institution," id. at 9, the attorney
                                                     ___

          has "a  significant opportunity  to harm  the institution."   Id.
                                                                        ___

          Applying  these principles,  the Board  ordered debarment  in the

          most wide-ranging terms.   It  wrote "that Stoller  could not  be

          trusted to  put the bank's interests before his own."  Id. at 10.
                                                                 ___

          On this basis, the order seems unquestionably to be remedial.

                    Struggling  against this  pointed  explication  of  the

          Board's rationale,  Stoller asseverates that the  debarment order

          cannot be viewed as remedial because the FDIC did not  assess the

          danger  that continued  involvement  on  his  part posed  to  the

          banking system or to depositors.  His asseveration lacks force.

                    In  the first place, the  FDIC is not  required to make

          specific findings on the  magnitude of a potential threat  to the

          nation's financial  institutions.   Halper  expressly  recognizes
                                              ______

          that civil sanctions need not be precisely calibrated in order to

          survive scrutiny under the Double Jeopardy Clause as long as they

          work "rough remedial justice."   490 U.S. at 446.  We  think that

          this principle  is fully  transferable to the  debarment context.

          When, as now, the government demonstrates a pattern of systematic

          wrongdoing involving large  sums of money, a  debarment order may

          properly  be  said  to  work  rough  remedial  justice without  a

          detailed  prognostication regarding  the probable  extent of  the

          wrongdoer's future  misconduct, if unchecked.   See United States
                                                          ___ _____________

          v. Furlett, 974  F.2d 839,  844 (7th Cir.  1992); Manocchio,  961
             _______                                        _________

          F.2d at  1542; see also United  States v. Winter, 22  F.3d 15, 17
                         ___ ____ ______________    ______

          (1st  Cir. 1994)  ("It is  common wisdom  that past  is prologue,


                                          28














          foreshadowing the future.").  Here, the Board, based on Stoller's

          pervasive  misconduct,   could   reasonably  conclude   that   he

          represented  a major threat to  the banking industry,  and that a

          broad debarment order would serve prophylactic purposes.

                    In the second place, Stoller's claim that the Board did

          not consider the  risk he  presented to the  banking industry  is

          incorrect  as a  matter of fact.   The Board's  attention to this

          issue is not only evident from the parts of the decisions that we

          have  cited,  but  it  is  also  made  manifest  by  the  Board's

          discussion of a possible reprieve from the industry-wide ban.  In

          that regard, the  Board wrote that the  FDIC would have a  future

          opportunity to  determine whether Stoller "could  perform work on

          behalf  of  [federally insured  depository  institutions] without

          undue risk  to those institutions."   Board Dec. II at  11.  This

          statement not only reflects the Board's worries about imperilling

          the  public but also highlights the conditional nature of the ban

             a fact that  itself militates in  favor of a  finding that the

          sanction  is remedial as opposed  to punitive.13   See Hudson, 14
                                                             ___ ______

          F.3d at 542.

                    3.   Where, as here, double  jeopardy analysis proceeds
                    3.

          under  an appraisal of the totality of the circumstances, a civil

          sanction  need  not be  solely  remedial  to pass  constitutional

          muster.   In  other  words,  the  fact  that  something  akin  to
                              
          ____________________

               13We  do  not mean  to suggest  that  a permanent  ban would
          necessarily be punitive.   See  Bae, 44 F.3d  at 495  (explaining
                                     ___  ___
          that "the duration or severity of an employment  restriction will
          not mark  it as  punishment where  it  is intended  to further  a
          legitimate governmental purpose").

                                          29














          punishment  occurs along  with, and  incidental to,  a sanction's

          overriding  remedial purpose  will  not  transform a  permissible

          civil  penalty  into  a  prohibited  multiple  punishment.    See
                                                                        ___

          Hernandez-Fundora, 58 F.3d at  806; Bae, 44 F.3d at  493.  Having
          _________________                   ___

          examined    1818(e)(1), the applicable  legislative history,  the

          circumstances attendant to Stoller's duplicity, and the rationale

          underlying the  Board's issuance of the  specific debarment order

          at issue here, we  discern a single unifying thread:   protection

          of the  integrity of the  nation's financial institutions.   This

          comports  with the root purpose of debarment:  to purge sensitive

          industries of  corruption and thereby  protect the public.   This

          purpose, evident here, is essentially remedial in nature.

                    We  need  go no  further.    Although the  durationally

          indefinite  order  of  proscription directed  against  Stoller is

          harsh,  we  do not  believe that  it  is disproportionate  to the

          remedial goals of    1818(e)(1).  Nor is the  debarment order out

          of proportion  to  Stoller's  wrongdoing.    This  is  a  salient

          consideration  because  an  individual's   misconduct  frequently

          informs the  need for remediation.   See Hudson, 14 F.3d  at 542;
                                               ___ ______

          Furlett, 974  F.2d at  844.   Here,  Stoller caused  the Bank  to
          _______

          suffer extensive losses, and did so  by the most devious means   

          playing  shell games with real  estate trusts, abusing a position

          of  trust,  and  duping  others by  concealing  his  interests in

          financial transactions.  In our judgment, the Board's decision to

          ban Stoller  indefinitely from  all association with  the banking

          industry  "reasonably  can  be   viewed  as  a  remedial  measure


                                          30














          commensurate  with his  wrongdoing."  Furlett,  974 F.2d  at 844.
                                                _______

          Put another way, industry-wide debarment, in the circumstances of

          this case, produces rough remedial justice.

          IV.  CONCLUSION
          IV.  CONCLUSION

                    When the  powers of  government are arrayed  against an

          individual, courts must be vigilant to ensure that the individual

          is not punished twice for the same offense through an artifice in

          which  one punishment masquerades as  a civil sanction.   Yet the

          fear  of  potential abuse  should not  be  allowed to  sweep away

          common sense.   Regulators who act  principally to safeguard  the

          integrity  of the industries that  they oversee or  to shield the

          public  from   the  machinations  of   unscrupulous  persons  are

          representatives  of the sovereign   but they are not purveyors of

          punishment  in a constitutionally  relevant sense.   In  the end,

          then, courts  must distinguish carefully between  those sanctions

          that constitute impermissible exercises of the government's power

          to  punish and those that constitute permissible exercises of the

          government's remedial authority (even if effectuating  a specific

          remedy  sometimes carries  with  it an  unavoidable component  of

          deterrence or retribution).

                    Taking into  account the totality of the circumstances,

          we  hold  that  the  debarment  order  imposed  by  the  FDIC  is

          predominantly remedial in nature.  Because it does not constitute

          a  punishment  under appropriate  double  jeopardy  analysis, the

          district  court  did not  err in  denying  the motion  to dismiss




                                          31














          various counts contained in the indictment.14



          Affirmed.
          Affirmed.
          ________









































                              
          ____________________

               14We note in passing that we would reach an identical result
          if  we  evaluated  the   debarment  order  under  the  Hudson/Bae
                                                                 ______ ___
          variation  on the Halper theme  instead of under  the totality of
                            ______
          the circumstances. 

                                          32














                                  STATUTORY APPENDIX
                                  STATUTORY APPENDIX


          I.  Debarment.
          I.  Debarment.
              _________

                    (1) Authority to issue order.--Whenever the appropriate
          Federal banking agency determines that--
                         (A) any institution-affiliated party has, directly
                    or indirectly--
                              (i) violated--
                                   (I) any law or regulation;
                                   (II)  any  cease-and-desist order  which
                              has become final;
                                   (III) any condition  imposed in  writing
                              by the appropriate Federal banking  agency in
                              connection  with the grant of any application
                              or   other   request   by   such   depository
                              institution; or
                                   (IV) any written agreement  between such
                              depository institution and such agency;
                              (ii) engaged or participated in any unsafe or
                         unsound  practice in  connection with  any insured
                         depository institution or business institution; or
                              (iii)  committed  or  engaged  in   any  act,
                         omission, or practice  which constitutes a  breach
                         of such party's fiduciary duty;
                         (B)  by reason  of  the  violation,  practice,  or
                    breach described in any clause of subparagraph (A)--
                              (i)  such  insured depository  institution or
                         business institution has suffered or will probably
                         suffer financial loss or other damage;
                              (ii) the interests  of the insured depository
                         institution's depositors  have  been or  could  be
                         prejudiced; or
                              (iii) such party  has received financial gain
                         or  other benefit  by  reason  of such  violation,
                         practice, or breach; and
                         (C) such violation, practice, or breach--
                              (i) involves personal dishonesty on  the part
                         of such party; or
                              (ii)   demonstrates  willful   or  continuing
                         disregard   by  such  party   for  the  safety  or
                         soundness of such  insured depository  institution
                         or business institution,

          the agency  may serve  upon such  party a written  notice of  the
          agency's  intention to  remove  such  party  from  office  or  to
          prohibit any further participation by  such party, in any manner,
          in  the  conduct  of  the  affairs   of  any  insured  depository
          institution.

          12 U.S.C.   1818(e)(1) (1994).

                                          33














          II.  Industry-wide Prohibition.
          II.  Industry-wide Prohibition.
               _________________________

                    (A) In  general.--Except  as provided  in  subparagraph
          (B),  any  person who,  pursuant to  an  order issued  under this
          subsection . . . has been  removed or suspended from office in an
          insured  depository institution or  prohibited from participating
          in   the  conduct  of  the   affairs  of  an  insured  depository
          institution may not, while  such order is in effect,  continue or
          commence to hold  any office in, or participate in  any manner in
          the  conduct  of the  affairs  of .  . .  any  insured depository
          institution . . . .
                    (B) Exception if agency provides  written consent.--If,
          on  or after  the date an  order is issued  under this subsection
          which removes or suspends from office  any institution-affiliated
          party or prohibits  such party from participating in  the conduct
          of  the affairs of an  insured depository institution, such party
          receives the written consent  of [the relevant federal agencies],
          subparagraph (A) shall, to  the extent of such consent,  cease to
          apply  to such party with respect to the institution described in
          each written consent.

          12 U.S.C.   1818(e)(7) (1994).

          III.  Offenses Charged in the Indictment.
          III.  Offenses Charged in the Indictment.
                __________________________________

                    The  superseding  indictment handed  up  on  January 4,

          1995,  charged Stoller with  violating various criminal statutes.

          Those statutes provide in pertinent part:

                         Whoever,  being  an  officer, director,  agent  or
                    employee of  . . . any  . . . national  bank or insured
                    bank . . .  embezzles, abstracts, purloins or willfully
                    misapplies any of the moneys,  funds or credits of such
                    bank . . . shall be [punished as provided by law] . . .
                    .

          18 U.S.C.   656 (1988).

                         Whoever .  . . as an  officer, director, employee,
                    agent,   or  attorney   of  a   financial  institution,
                    corruptly solicits  or demands  for the benefit  of any
                    person,  or  corruptly  accepts  or  agrees  to accept,
                    anything  of value  from  any person,  intending to  be
                    influenced  or rewarded in connection with any business
                    or  transaction of  such  institution .  .  . shall  be
                    [punished as provided by law] . . . .

          18 U.S.C.   215(a) (1988).

                         Whoever makes any false entry in any book, report,

                                          34














                    or statement of [a  federally insured] bank with intent
                    to injure or defraud  such bank, or any other  company,
                    body politic or corporate, or any individual person, or
                    to  deceive any  officer of  such bank,  or the  . .  .
                    Federal Deposit Insurance Corporation  . . . [s]hall be
                    [punished as provided by law].

          18 U.S.C.   1005 (1988).

                         (a) Whoever commits  an offense  against
                    the United  States or aids,  abets, counsels,
                    commands, induces or procures its commission,
                    is punishable as a principal.

                         (b)  Whoever willfully causes  an act to
                    be done which if directly performed by him or
                    another  would  be  an  offense  against  the
                    United States, is punishable as a principal.

          18 U.S.C.   2 (1988).

































                                          35









